                     Case 8-20-08049-ast     Doc 82       Filed 10/26/23   Entered 10/26/23 14:56:40




                                       Jeffrey P. Nolan             October 26, 2023                   310.772.2313
                                                                                                 jnolan@pszjlaw.com



                                           The Honorable Alan S. Trust
L O S A N G E L E S, C A
                                           Chief Judge
S A N F R A N C I S C O, C A               United States Bankruptcy Court
W I L M I N G T O N, D E
N E W Y O R K, N Y
                                           Eastern District of New York
                                           Alfonse M. D’Amato Federal Courthouse
10100 SANTA MONICA BLVD.
                                           290 Federal Plaza
13th FLOOR                                 Central Islip, New York 11722
LOS ANGELES
CALIFORNIA 90067                                   Re:    In re Orion HealthCorp, Inc., et al.
TELEPHONE: 310/277 6910                                   Howard M. Ehrenberg v. Arvind Walia;
FACSIMILE: 310/201 0760                                   Niknim Management Inc.
                                                          USBC EDNY Adv. Proc. No. 20-08049-ast
SAN FRANCISCO
150 CALIFORNIA STREET
15th FLOOR
                                       Dear Judge Trust:
SAN FRANCISCO
CALIFORNIA 94111-4500                         We are counsel for Howard M. Ehrenberg in his capacity as
TELEPHONE: 415/263 7000                Liquidating Trustee of Orion Healthcorp, Inc., et al. (the “Liquidating
FACSIMILE: 415/263 7010                Trustee”) in the above referenced adversary proceeding.

DELAWARE                                       Per the Court’s instruction, I write to confirm the Court has
919 NORTH MARKET STREET                continued the Conference from October 24, 2023 at 2:30 p.m.
17th FLOOR
P.O. BOX 8705
                                       (prevailing Eastern Time) to a Conference for the hearing of oral
WILMINGTON                             arguments for the pending motions for summary judgment which
DELAWARE 19899-8705                    argument will be heard on November 14, 2023 at 2:00 p.m.
TELEPHONE: 302/652 4100                (prevailing Eastern Time), before the Honorable Alan S. Trust, United
FACSIMILE: 302/652 4400                States Bankruptcy Judge, Courtroom 960 of the United States
                                       Bankruptcy Court for the Eastern District of New York, 290 Federal
NEW YORK                               Plaza, Central Islip, NY 11722. Each side will be allotted 20 minutes to
780 THIRD AVENUE
34th FLOOR
                                       argue their respective motions for summary judgment.
NEW YORK
NEW YORK 10017-2024                            The Liquidating Trustee was instructed to file and serve this
TELEPHONE: 212/561 7700
                                       letter on all parties entitled to receive notice.
FACSIMILE: 212/561 7777
                                                                       Very truly yours,
TEXAS
440 LOUISIANA STREET                                                   /s/ Jeffrey P. Nolan
SUITE 900
HOUSTON
TEXAS 77002                                                            Jeffrey P. Nolan
TELEPHONE: 713/691 9385

FACSIMILE: 713/691 9407




WEB:   www.pszjlaw.com                 DOCS_NY:48825.2 65004/003
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                  cc: Sanford P. Rosen, Esq., Paris Gyparakis, Esq. (Via email and ECF)
                      Eugene Scheiman, Esq. (Via email and ECF)
                      (Counsel for Defendants)




                  DOCS_NY:48825.2 65004/003
